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                          IN THE UNITED STATES DISTRICT COURT

                          FOR THE SOUTHERN DISTRICT OF TEXAS

                                    HOUSTON DIVISION

UNITED STATES OF AMERICA                        §
                                                §
VS.                                             §   CRIMINAL NO. H-09-294 (12)
                                                §
KENDRICK DWIGHT JONES                           §

                          ORDER OF DETENTION PENDING TRIAL

       On April 5, 2010, this Court conducted a Hearing on the Government's Motion to Detain

Kendrick Dwight Jones, the named Defendant in the above-styled and numbered cause. The

Government appeared by attorney and announced ready; the Defendant appeared in person and

by court-appointed counsel and announced ready. The Government offered the testimony of

Christopher Raia, Special Agent with the Federal Bureau of Investigation; the Defendant presented

no evidence. The Court also made the Pretrial Services report, which recommended detention,

a part of the record for purposes of the Detention Hearing only. Having now considered the

evidence, this Court makes the following findings of fact and conclusions of law:

1.     That pursuant to the Indictment there is probable cause to believe that Kendrick Dwight

       Jones has committed a drug offense with a maximum penalty of ten years or more

       confinement, see 18 U.S.C. § 841, see also United States v. Trosper, 809 F.2d 1107, 1110

       (5th Cir. 1987);

2.     That by virtue of the foregoing finding a rebuttable presumption was created in favor of

       Jones’ detention, 18 U.S.C. § 3142(e);

3.     That the crack/cocaine drug trafficking conspiracy charged by the Indictment was of a

       substantial and continual nature;
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4.    That the strength of the Government’s case is substantial given Jones’ involvement in an

      undercover purchase on July 16, 2008, of 13.82 grams of cocaine base delivered to the

      purchase scene by Jones, whose identification was determined by direct surveillance, and

      further given Jones’ direct involvement in drug transactions, discussed during authorized

      wiretap interceptions, with co-Defendants;

5.    That Jones’ two prior convictions for felony drug cases fairly predicts a continuation of

      such activities if he were to be released, United States v. Salerno, 481 U.S. 739 (1987);

6.    That by virtue of the foregoing findings, Jones would constitute a danger to the community

      if released;

7.    That Jones remained at large since the arrests of his co-Defendants in July 2009 despite

      requests communicated to his mother, with whom he lived from time to time, and the

      mother of his children, until his arrest on a traffic stop in Katy, Texas, during the week

      of March 29, 2010;

8.    That by virtue of the foregoing finding Jones would present a substantial risk of flight were

      he to be released;

9.    That the credible evidence and information submitted establishes by clear and convincing

      evidence that there is no condition or combination of conditions which could be imposed

      upon Jones by this Court to reasonably assure the safety of the community if he were

      released.




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       It is, therefore, ORDERED that Kendrick Dwight Jones be, and he is hereby,

COMMITTED to the custody of the Attorney General or his designated representative for

confinement in a corrections facility separate, to the extent practicable, from persons awaiting or

serving sentences or being held in custody pending appeal.

       It is further ORDERED that Kendrick Dwight Jones SHALL be afforded a reasonable

opportunity for private consultation with defense counsel.

       It is further ORDERED that upon Order of a Court of the United States or upon request

of an attorney for the Government, the person in charge of the corrections facility SHALL deliver

Kendrick Dwight Jones to the United States Marshal for the purpose of an appearance in

connection with a Court proceeding.

       DONE at Houston, Texas, this            5th           day of April, 2010.




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